               Case 2:17-cr-00053-JAM Document 106 Filed 03/09/18 Page 1 of 3


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 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:17-CR-053 JAM
12                                   Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                           JUDGMENT AND SENTENCING OF
13                            v.                           DEFENDANT PAUL FOURNIER
14                                                         DATE: April 10, 2018
                                                           TIME: 9:15 a.m.
15   PAUL FOURNIER,                                        COURT: Hon. John A. Mendez
16

17
                                    Defendant.
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19

20                                                STIPULATION

21           1.      By previous order, this matter was set for judgment and sentencing on April 10, 2018.

22           2.      By this stipulation, the United States of America (“government”) and defendant Paul

23 Fournier now move to continue the judgment and sentencing until October 30, 2018, at 9:15 a.m., on

24 the basis of the complexity of this case, the defendant’s desire to provide additional information to the

25 U.S. Probation Officer, the parties’ efforts to stipulate to a restitution figure, and availability of counsel

26 due to trial and vacation schedules.

27           3.      The government and defendant Fournier further stipulate to the following briefing

28 schedule related to the judgment and sentencing proceeding:

       STIPULATION AND [PROPOSED] ORDER                    1
       U.S. V. CHAPIN ET AL., 2:17-CR-053 JAM
              Case 2:17-cr-00053-JAM Document 106 Filed 03/09/18 Page 2 of 3


 1                  a)      Judgment and Sentencing Date: October 30, 2018

 2                  b)      Reply, or Statement of Non-Opposition: October, 23 2018

 3                  c)      Motion for Correction of Presentence Investigation Report shall be filed with the

 4          Court and served on the Probation and Opposing Counsel no later than: October 16, 2018

 5                  d)      The Presentence Investigation Report shall be filed with the Court and disclosed

 6          to counsel no later than: October 9, 2018

 7                  e)      Counsel’s written objections to the proposed Presentence Investigation Report

 8          shall be delivered to the Probation Officer and opposing counsel no later than: September 18,

 9          2018

10                  f)      The proposed Presentence Investigation Report shall be disclosed to counsel no

11          later than: September 4, 2018

12          4.      The U.S. Probation Officer has been consulted about the proposed judgment and

13 sentencing date, as well as the proposed briefing schedule, and has no objection to the proposals.

14          IT IS SO STIPULATED.

15
     Dated: March 8, 2018                                    MCGREGOR W. SCOTT
16                                                           United States Attorney
17
                                                             /s/ NIRAV K. DESAI
18                                                           NIRAV K. DESAI
                                                             Assistant United States Attorney
19

20
     Dated: March 8, 2018                                    /s/ Nirav K. Desai for Robert
21                                                           Wilson
                                                             (authorized on March 7, 2018)
22                                                           ROBERT WILSON, ESQ.
23                                                           Counsel for Defendant PAUL
                                                             FOURNIER
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      STIPULATION AND [PROPOSED] ORDER                   2
      U.S. V. CHAPIN ET AL., 2:17-CR-053 JAM
             Case 2:17-cr-00053-JAM Document 106 Filed 03/09/18 Page 3 of 3


 1

 2                                                 ORDER

 3         Upon review and consideration of the stipulation of the government and defendant Paul Fournier,

 4 IT IS HEREBY ORDERED that:

 5         1.      Judgment and sentencing of defendant Paul Fournier is continued to October 30, 2018, at

 6 9:15 a.m.

 7         2.      The parties’ briefing schedule set forth in the stipulation is ADOPTED.

 8         IT IS SO ORDERED.

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10 DATED: 3/9/2018                                      /s/ John A. Mendez

11                                                  THE HONORABLE JOHN A. MENDEZ
                                                    UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION AND [PROPOSED] ORDER                  3
     U.S. V. CHAPIN ET AL., 2:17-CR-053 JAM
